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 1                                                                    Honorable Marsha J. Pechman

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 4

 5                            UNITED STATES DISTRICT COURT
                             WESTERN DIVISION OF WASHINGTON
 6                                     AT SEATTLE

 7   NAKIA CAMPBELL,                                   No. 2:20-cv-00128 MJP

 8                                                     THIRD STIPULATED MOTION AND
                             Plaintiff,                ORDER TO AMEND ORDER
 9                                                     SETTING TRIAL DATE AND
     v.                                                RELATED DEADLINES
10
     FEDERAL RESERVE BANK of SAN                       NOTED FOR: NOVEMBER 5, 2020
11   FRANCISCO

12                            Defendants.

13                                         I.     STIPULATION

14          COME NOW the parties, by and through their attorneys of record, Beverly G. Grant and

15   Jeffery D. Bradley of Beverly Grant Law Firm, PS and Arthur Simpson and Katie Rosen of

16   Davis Wright Tremaine LLP, hereby jointly request an extension of certain pretrial deadlines

17   and submit this Third Stipulated Motion to Amend Order Setting the Trial Date and Related

18   Deadlines in the hope to clarify the intent of their previous motions and to respond to the Court’s
19   inquiries. Incorporated by reference, the previous stipulated motions to alter the case schedule
20   (Dkt. 21 and Dkt. 25) and along with the Court’s Orders denying the requested relief without
21   prejudice (Dkt. 22 and Dkt. 27).
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24
      THIRD STIPULATED MOTION AND
      ORDER TO AMEND ORDER                                                 5808 100th Street SW, Suite A
25    SETTING TRIAL DATE AND                                               Lakewood, WA 98499
      RELATED DEADLINES                           Page 1 of 5              (253) 252-5454
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 1          The parties respectfully submit to the Court that there is good cause to amend the case

 2   scheduling order to afford them additional time to conduct discovery in an orderly, efficient, and

 3   thoughtful fashion. The parties and their counsel have not been dilatory. To date they have met

 4   all Court-issued deadlines and continue to proceed in this litigation earnestly, expeditiously, and

 5   in good faith. However, this extraordinary year has imposed upon the parties, their counsel, this

 6   Court, and the world at large incredible and unforeseen challenges.

 7          Respectfully, the parties have not requested an amendment of the Court’s scheduling

 8   order solely to accommodate their intention to conduct a private mediation of Plaintiff’s claims

 9   against Defendant. (Dkt. 27). The parties are requesting that the Court provide them with

10   additional time to complete discovery because much of their discovery period has overlapped

11   the single greatest acute public health crisis in recent history. Further, the parties’ counsel now

12   have conflicting discovery and trial schedules that will render the current case schedule difficult

13   if not impossible to meet.

14          Early on in the COVID-19 public health emergency, it was unclear whether, when, or
15   how critical discovery such as depositions and Rule 35 examinations could be conducted safely
16   and appropriately, and the parties lost crucial time as a result of the pandemic. This was a result
17   of an unforeseeable public health emergency that affected all sectors of commerce across the
18   nation, including the legal industry. The parties now respectfully request that the Court merely
19   afford them with additional time to make up for that lost time so that their counsel can discharge
20   their professional responsibilities as advocates in fashion that does not impose an undue burden
21   upon the parties, their counsel, their experts, and their lay witnesses.
22

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 1          (1) Although, counsel have met the deadline for initial disclosure of expert witnesses,

 2   Defendant’s psychiatric expert, Dr. Vandenbelt, will be unable to conduct a Federal Rule of Civil

 3   Procedure 35 examination of Plaintiff until November 24, 2020. This was due to other conflicts

 4   in his schedule. Dr. Vandenbelt will need time to examine the raw data to compile a Federal

 5   Rule of Civil Procedure 35(b) report that will be forwarded to Plaintiff’s expert as well. Due to

 6   his caseload and other responsibilities in the holidays, Dr. Vandenbelt will not have his Rule 35

 7   report ready for review until December 14, 2020. Plaintiff will then have thirty (30) days to

 8   respond with a rebuttal expert. The Court noted that “Plaintiff does not identify when her experts

 9   will be prepared to present their reports in this matter if not by the October 5, 2020 cut-off” (Pg.

10   1, ln. 20-21). Plaintiff’s rebuttal psychological expert could meet the deadline pursuant to the

11   court rules within thirty (30) days from the date of the IME report, or shortly by January 13,

12   2021. The current schedule does not afford either expert sufficient time to meet the Court’s

13   discovery cutoff deadline by December 4, 2020, and meet their other obligations to interpret any

14   raw data from the IME; and (2) Counsel each have conflicting trial schedules with very similar
15   discovery cutoff dates and trials in May, 2021. See Dkt. 26 (Decl of Beverly G. Grant); and (3)
16   In addition to their intention the mediate, the reasons that support the parties’ two prior requests
17   for deadline extensions include COVID-19 and conflicting trial and discovery schedules among
18   counsel and experts, make it necessary to seek relief from the court of a two-month discovery
19   extension (as well as a continuance of the trial date).
20          The parties and their counsel are very appreciative that the Court has a busy calendar
21   that has trials set far into the future. The parties and their counsel do not take lightly the
22   additional strain that their request for a continuance of case-related deadlines will place upon
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 1   this busy Court, and they do not make their joint request as a matter of course. Yet the parties

 2   do submit that there is good cause for the requested relief and humbly request that this Court

 3   afford them additional time so that they may conduct discovery in an orderly fashion and

 4   proceed to trial at a time when their counsel are not scheduled to be in other trials.

 5            Counsel jointly seeks a modification of the following dates:

 6                 Description                          Current Dates               Proposed Dates
      Discovery motions filed by                      November 4, 2020             January 20, 2021
 7    Discovery Completed by                          December 4, 2020             February 19, 2021
      Dispositive Motions filed by                     January 4, 2021              March 22, 2021
 8    Motions in Limine filed by                       March 29, 2021               June 14, 2021
      Agreed Pretrial Order due                        April 20, 2021                July 6, 2021
 9
      Trial Briefs, voir dire and proposed             April 20, 2021                July 6, 2021
      jury instructions
10
      Pretrial conference                               April 22, 2021             TBD in June 2021
                                                         @ 1:30 pm
11
      Trial                                              May 3, 2021                  July 19, 2021
12
     DATED this 5th day of November 2020.                DATED this 5th day of November 2020.
13
     BEVERLY GRANT LAW FIRM, P.S.                          Davis Wright Tremaine LLP
14                                                         Attorneys for Defendants
     By:     /s/ Beverly G. Grant
15   Beverly G. Grant, WSBA No. 8034                       By      /s/ Arthur Simpson
     Jeffery D. Bradley, WSBA No. 27726                    Arthur Simpson, WSBA #44479
                                                           Katie Rosen, WSBA #29465
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     Lakewood, WA 98499                                    920 Fifth Avenue, Suite 3300
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             Jefferybradley@bevgrantlaw.com
19                                                         E-mail: arthursimpson@dwt.com
     Counsel for Plaintiff

20                                           II.      ORDER

21            Based upon the foregoing Stipulation:

22            IT IS SO ORDERED that the deadlines shall be extended as follows:

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 1                Description                  Current Dates          New Dates by Order of
                                                                            the Judge
 2   All motions related to discovery        November 4, 2020          January 20, 2021
     must be filed by and noted on the
 3   motion calendar on the third Friday
     thereafter (see CR7(d))
 4   Discovery Completed by                  December 4, 2020          February 19, 2021
     Dispositive Motions                      January 4, 2020          March 22, 2021
 5   filed by and noted on the motion
     calendar on the fourth Friday
 6   thereafter (See CR7(d))
     Motions in Limine filed by and           March 29, 2021           June 14, 2021
 7   noted on the motion calendar no
     earlier than the third Friday
 8   thereafter and no later than the
     Friday before the pretrial
 9   conference.
     Agreed Pretrial Order due                 April 20, 2021          July 6, 2021
10
     Trial Briefs, voir dire and proposed      April 20, 2021          July 6, 2021
     jury instructions
11
     Pretrial conference                       April 22, 2021          July 8, 2021 at
                                                @ 1:30 pm               1:30PM
12
     Trial                                      May 3, 2021            July 19, 2021
                                                                       10 Day Jury Trial
13

14           DATED this 6th day of November 2020.

15

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17
                                              A
                                              Marsha J. Pechman
                                              United States District Judge
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